  Case: 1:15-cv-00605-MRB Doc #: 66 Filed: 02/20/19 Page: 1 of 1 PAGEID #: 3681



                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

John Doe,

               Plaintiff,

               v.                                         Case No. 1:15cv605

Miami University, et al.,                                 Judge Michael R. Barrett

               Defendants.

                                           ORDER

       Pursuant to a settlement conference conducted by the undersigned on February 20,

2019, this matter is resolved;

       It is ORDERED that this action is hereby DISMISSED with prejudice, provided that any

of the parties may, upon good cause shown within sixty (60) days, reopen the action.

       The Court retains jurisdiction.

       IT IS SO ORDERED.


                                                           s/Michael R. Barrett
                                                          Michael R. Barrett
                                                          United States District Judge
